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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



                                                             Civil Action No. 19-14008 (MCA)
     STRIKE 3 HOLDINGS, LLC.,

                      Plaintiff,

            V.                                               60 DAY ORDER ADMINISTRATIVELY
                                                                 TERMINATING ACTION
    JOHN DOE SUBSCRIBER ASSIGNED IP
    ADDRESS 74.105.21.243,

                       Defendant.



         It having been reported to the Court that the above-captioned action has been settled,
         IT IS on this 24th       day of February , 2020,
         ORDERED that this action and any pending motions are hereby administratively
  terminated; and it is further
         ORDERED that this shall not constitute a dismissal Order under Federal Rule of Civil
  Procedure 41; and it is further
         ORDERED that within 60 days after entry of this Order (or such additional period
  authorized by the Court), the parties shall file all papers necessary to dismiss this action under
  Federal Rule of Civil Procedure 41 or, if settlement cannot be consummated, request that the
  action be reopened; and it is further
         ORDERED that, absent receipt from the parties of dismissal papers or a request to
  reopen the action within the 60-day period, the Court shall dismiss this action, without further
  notice, with prejudice and without costs.



                                                          ____s/Madeline Cox Arleo   .
                                                           MADELINE COX ARLEO, U.S.D.J.
